Case 2'15-cV-02279-.]AD-GWF Document 10-3 Filed 09/07/16 Page 1 of 15

z UNITED STATES DISTRICT COURT3
' ,FOR THE DISTRICT OF NEVADA

 

 

 

 

 

VIANA V. BAILEY , z Case No. 2:15-cv-2279 l
' Plal“tlff’ ) CLAIM FoR MANDAIORY JuDIcIAL NOTICE, No. 1,
v. § BY AFFIDAVJ;T, FREV 201 (~c)(z)
' lLED RE futa
wILLlAM osCAR HARRIS, Er AL., § AFFIRMATION AND VERIF\§_I\@AQLU)N, 28 USC&'£§var
Defendants . ) 1746 (1) COUNSEL/PART|ES UF RECO::§.'
. > j
sTATE or NEVAI§Z\ z ° SEP '.7 2016 '
: Affirmed and signid. .YIEM(U§EE?HE?EBU§T
CLARK COUNTY = msrchoFNEvAr)A '
BY:___________________rr§§t““

 

 

CDMES NOW, the defendants herein, being of majority age , good moral character and com~

patent to testify, with yes as yes and no as no, and in filing this Claim with this Hon~
orable Court would state the following, to wit:

RELIEF SOUGHT

y provisions embodied in Federal
y move this Court to take mandatory judicial

1. These defendants herein, pursuant to the mandator
Rules of Evidence ("FREV") 201 (c)(Z), hereb
notice of the following facts:

a) 75 separate individualsj who have confessed to being parties in priv~
ity to the transactions, which gave'rise to this instant proceeding, have provided con~
elusive judicial admissions in other legal proceedings pursuant to Federal Rules ofCivil

Procedure ("F.R.CIV.P.") 36 (a)(3) and (b), which are true, correct, certain and complete
and speak to the facts of the matter involved hereinz and

b) this witness~provided evidence, forthcoming from these 75 parties in
privity, is both relevant andrpertinent to these in

stant`proceedings, in accordance\mith
raw 401, 801 (d)

and 901 et seq., and serves to validate, authenticate and confirm the

express contracts between the defendants and the UNITED STATES, which is the subject, in
part, of this cause of action. ‘ d

Judicial Notice Must Be Taken Because>

2. Rule 201 (c)(Z)

of the FREV provides that this Court MUST take mandatory judicial
notice of_the facts tha

t are not§reasonably subject to dispute when requested to do so
by a party who supplies this Court with~the necessary information.

3. ' The fact that is the subjdct&of this Claim, namely, these 75 individuals'responses

to requests for admissions, are being offered for the truth of the matter, coupled with
full disclosure of all pertinent and relevant facts associated herewith offered in the

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‘ .

interest of justice.

4. The following sources establish the truth of the facts, as delineated in the re~

lief'sought in f 1 above, of which judicial notice MUST be taken at: `

a) United States District Court for the District of Columbia, case no.
1214~cv~01875~JDB, notice of acceptance of responses,

re requests for admissions, doc~
ket entry 91 and comprising 96 pages, and

wh '

\ CONCLUSION
5. With respect for the foregoing,
datory non-discretionary duty to take d
uments for the purposes of validation,

J
these defendants hereby invoke this Court'slnan~
ue judicial notice of these herein referenced¢doe-

authentication and confirmation of the express

contracts by the named defendants with the UNITED §IATES therein, as referenced in U 1
aboveo '. '

AFFIRMATION AND VERIFICATION
ln accordance with 28 USCS § 1746 (1),

these defendants do hereby affirm and verify that the foregoing is all true, correct,

certain, complete and not misleading, i.e. the facts of the matter, as done, signedand
presented this \C»\ day of :Qj¥ common rra 2016.

by=%_`:"L__/___ by= /IZ-\ 1 . bva L-"/:__
wl IAM oscAR HARRIS ROBERT DAvlr) NEAL

izAL H TA§I_.oR

under the pains and penalties of perjury,

 

CERTIFICATE OF SERVICE

On this \(;\ day of ::;;)\ , Common Era 2016, these defendants did place
the foregoing in the U.S. Mails as ollows:

VIANA V. BAILEY
124 N. Viriginia Avenue
Atlantic City, N.J. 08401

y{:¥i:i__:="L==_\ by: Lf _" ,‘7;"" __ _ byi"* Af%fi;;:::z:::::j_"
wIL IA`I\TG§EAR`!U'RRTS"" RT§ER'T~I:)`AVL'D_`N‘EEMM RAL

, TAYLOR
907 Cornerstone Place 907 Cornerstone Place 907 Cornerstone Place
Las Vegas, NV 89031 Las Vegas, NV 89031 Las Vegas, NV 89031

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` l »' ease 2:15-cv-02279§@§§§$§§§§§®5§§¢1§§§!§§§§§§§§/07/16 Paglér§" vii 151 5 l T 1

M.PH'TAYLOR, E'r AL. ,
Plaintiffs ,

Case No . 1:14-cv-01875-JDB

21\11) Norlcs or Accrmmcs oF RESPONSES
10 REQUEST ron AnMIssIoNs, F.R.clv.P.
36 (a) (3) a (b), sr AFFIDAVIT

V.»

UARLES E. SAMUELS, JR., E‘I`AL.,
~ Defendants.

V\/V \/\N\~/VV

 

STATE or lamm

at

f Affi_rmed and Signed.
VIGO COUN'I'Y ' g

C,CMES NOW, the Plaintiff_s herein, being of majority age, good moral character and com-
petent to testify, \-.m'.th yes as-yes and no as no, and in filing this 2nd Notice would
show this ¢Honorable C.ourt the following, to wit:

RECITALS

1. On November 10, 2014, with respect for the Federal court's preference`to avoid
the costs and problems associated with the formal process service of the Sumnons and the
accompanying docunents, as delineated in F .R.CIV.P. la (d), the two (2) initially named
co-Defendants, Charles E. Samuels, Jr. {"Samuels") and Sarah Qureshi ("Qureshi"), along
with the U.S. Departmen't-of Justice and the Civil Process Clerk for the U.S. Attorney for
the District of C/.)lunbia, were ALL properly served with a Waiver of Service of Summons
and these other required documents.

Li. This service process met the Notice requirements detailed in F.R.CIV.P. /+ (i)(3)-
See U.S. Postal Service Tracking nos. 91114 9011 8986 6947 3683 58; 9114 9011 8986 6947
3683 71, and 911£1- 9011 8986 6947 3683,96.

3. Now with a response to this initial Coxr!plaint`by~$a;nuels and Qureshi, individually,
due to be filed with this Court.on or before January 9, 2015, see F.R.CIV.P. 12 (a)(l)(A)
§ii) & (3), no such response has been forthcoming, i.e. a default.

4&. With respect for the exempt status of these instant proceedings as defined in F.R.
CIV.P. 26 (a)(l)(i})(iv), (d)(l) and (F)(l), on December 18, 2014, the following 51 named
co-Defendants were each properly served with a Request for Admissions ("Request"), in ac~
cordénce with F.R.CIV.P. 36 (a)($), to: d

 

 

 

 

 

harley G. Lappin .Jeff Gross Melissa J. Bayless
darrell Watts l N. Tokish John F. Caraway
Christopher Greiner Thomas R. Kane Diana QuirzOrleS Rl.~(-l.~,\-,.-D
John C. Oliver Stephen Cope J. Dwyer M"*i" k°°i“
Page 1 of ~7 JANZ@Z@B§
Page 3 of 15
usi`B¥s°llrici)'c%{}?iil')`i§'r`€`§i§i.g§\"'.'i\\

 

 

CaSe 2:15-cV-02279-.]AD-GWF Document10-3 Filed 09/07/16 Pag§ ¢B(olei'?[ B I T 1

 

'Michael l~ Stephens Amber L. Nelson n _D; Mathews

Clint Swift Charles L. Lockett, Jr. D. Ramey

Harvey G. Church Bradley Shoemaker F. Timothy Coleman
J. Sisk Amy Adams D. Holston

L.G, Ward _ D. Moore Kathleen M. Kenney
Michael K. Nalley Paul M. Laird Leann LaRiva
Katherine Seireveld J. Ballard Joyce K. Conley
Leslie S. Smith V. Rigsby Brian English
Christopher Purdue K. Myers Travis Weber

J° Krimitski J‘ Baker ~ Tereser A. Banks
Francisco J. Quintana S. dohnson Elizabeth Keller
Eric Rardin D. Ezekiel Michael Sample

J. Tcdd Jeffrey George C. Hirons

5. The process service of this Request was accomplished via accountable mail means

through the U.S. Postal Service in accordance with F.R.CIV.P. 5.

61 After'the mailing, the Postal Service reported back that the mailing had been
properly received by the 51 co-Defendants.. See F.R,CIV.P. S(b)(l) & (2)(€), and Houston
v. Lack, 487 US 266 (1988). Also see U.S.P.S. Tracking No. 9114 9012 3080 3776 8305 36.

7, F.R.CIV.P. 36 (a)(3) establishes a mandatory 30 day response period for a reques-
ted party to reply to such a Request as this or the matters as so addressed therein are
to be deemed to be conclusively admitted to forevermore for the purposes of the proceedings.

See Essroc Cement Corp. v. CTL/D.C., Inc., 740 F.Supp.Zd 131 (D.C. DC Sept. 27, 2010);
Anchorage - Hynning d Co. v. Moringiello, 697 F.2d 356, 363 (D.C. Cir 1983), and F°R.CIV.
P. 36 (b).

8. This 30 day response time period must be adjusted for an additional 3 days, zu;per
F.R.CIV.P. 6 (d), since this process service was completed through the mails, whereir\this.
response period expires on January 20, 2015.

9. ln the interest of judicial economy, a generic true copy of these Request(s),which
was identical for each of these 51 co-Defendants, is attached hereto as Exhibit A atpages
h thru 7 herein.

10. Each Request, however, was individualized with the co-Defendant's own name affixed
thereto for proper identification.

11. Now, in accordance with the time constraints imposed by F.R.CIV.P@ 36 (a)(3),this

Court and these 51 co~Defendants are hereby NOTICED that the 30 day response period, asad-
justed, has expired.

12. Further, NOTICE is also hereby given that not even one of these 51 named co~Defen~

dants has brought forward a timely and proper response to these Requests.

13. F.R.GIV.P. 36 (b) dictates that these tacit non-responses of these 51 named co~De-
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fendants are herewith deemed to be contractual stipulations and final/firm admissions
as to each and every matter put forward in these Requests.

14. Furthermore, these Plaintiffs now hereby serve NOTICE that they are accepting
these non~responses from these 51 co~Defendants as such for the purposes of these pro-
ceedings, and thus not subject to futher contravention, forevermore.

AFFIRMATION AND VERIFICATION

under r.ne paine end penalties ss perjury, re 28 uscs § 1746 (1>, these Pleintiffs affirm
and verify the foregoing to be all true, correct, certain, complete and not misleading
as done, signed and presented, without availability or access to a notary public, <n1this
20th day of January, Common Era 2015

HNYWW\ hew

 

wlLLIAM os<;AR HARRIS by:Rolz)?troz(vn) NEAL RALPH TAYioR \
Plaintiff ~ Plaintiff Plaintiff

Po Box 33, 40743050 Po Box 33,15151180 Po Box 33, 316280!¢8
nasz HAUI'E, m 47808 TER`RE HAui'E, IN 47808 TERRF. HAUIE, 1a 47808

PROOF OF SERVICE

On this 20th day-of January, Common Era 2015 a copy of the foregoing was sent to:

Charles E. Samuels, Jr., et al. U.S. Attorney General and

Defendants U. S. Attorney for the District of Columbia
c/o Joyce Zoldak, Assoc. General Counsel Civil Process Clerk

Federal Bureau of Prisons (BOP) 555 4rh Street, NW

320 First Street, NW z Washington, DC 20011

Washington, DC 20534

by,MW/W W b MOW

 

 

waith oscAR HARRIS y:RaniT oAvID NEA_L RALPH TAYLOR./

Plaintiff Plaintiff Plaintiff

Po sex 33, 40743050 Po sox-s.z, 15151180 Po sex 33, 31628048

mar HAUn:, m 47808 masz HAUI'E, m 47808 mr nAurr, m 47808
Page 3 of 7

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Page 5 o

 

 

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. ~ case 2:15-cv-0227~9-JAD-vaF Documem 103 allen E X § § § § § ;l.gr._ 1
-' . UN'n‘n) san ‘s merritt count " . ' ~
" on nn ozsinlor or <nz_.r)rmn\ ' ~»'
" "z.e\l,`nx 'n\YLon, et el., ' _ d ' . ii " '
Pz..sinriffs, z esse ns. l=ie-ev~ols?s,~Jl)B _
" """ _ ' ' 3 manner ron .-}'wnlssiows,~ Fed.r'.civep. '36_
wants E. s./xrmELs-", Js., er si.. ‘} ~ ~ '
. Defendents. l " §

 

 

TO: ` ~ :, _ ".‘ '. ' .` "
o/o Fe'deral liures.u of Prisons and the U.S. D`epartment of Justice

'Illese_._~?lai\:_»..tiffs herebv request that you admit. under cath,» to'ALL of the 'iioll'uw~
. , : ~ '. ". 2'. , ' " , '-\ ,~,¢
;1ng matters for t e purposes of thi&!instant proceeding as required oy Ped.Reciv.P. 36
(a_)(§) and (b) within thirty ( 301 days ~of this Reque{;t.. See alsc\___Houston ,`v. ‘Lack_, "4"37

US 266 (.1933) and Fed.R‘.Civ`.l-“ 5:(`6)(1)&(2)(0)~ '.f.his Req est is_-.beinq- mate purs!.'¢ant to

Fed..'zl..Gi'/.P. 3, 26{a)(1.)(B)(iir), (_d)(l);' (f)(i) and 36 IHI.'ch establ'i'slijth.e exempt status
'of this proceeding. ~ ` ‘ . ~ *

x-

Yo\.\~res.ponses hereto, if an_\/, shall and will be signed'lly you personally an so;
required t-y~ E"-:d.R.Ci;v.P. 26(;_;) . Y-:)ur responses shall ahd will 'be u:%d in this proceeding
and/or any other legal prcv:eeding, toth judicial and extr

` ajudicial_,_. a§=' these Plaintiffe‘
deem 11eces~'aar',"_ and appropriate in' their sole discretionl

. lf _vou choose to add to, supp~
lenent or deny these affirmative admissiona~=, you must dp so within tile thirty (30) days
as alloted in {"ed.R.Civ.F._36(a)(_3). Otherwise, each and every matter'as set forth herein
shall-automatically be deemed to be admitted _"and :stipul ted tc- 13>‘

f g you and firmly estab~
lished against you. Be so ad'.'ised. You sl'rould attach additional pages hereto if mere space
is required for your responses. '¢ ~

."`mission no. 1 .: ~ ' .. '

Admi.t. t et the two initially named defendants herein, diaries E.; Sa\wuels,. .Jr.. and
Sarah Q.lres"di, `c"fave‘: ea&'lh' individually :Q!Jrsuant to their| judicial admissions brought for~
ward vi:-i Fe';d.‘£?..(`.iv.`?. 36(b), identified you specificall‘."'~b‘y'y name as a culpable bad actor

end knowing co-cr;.-_.nspirator with them in thein confirmed criminal Rl`C;O scheme ( 18 ‘USCS §

f

1961 et seq.§ otherwise-lemon as :tlire._Comnunications Nar.:age'went Unit (."CMU") program
and facility _th'at.‘ls the subject o°f this instant proceeding. ' ' "
Response:` _ , , ~ ' .

Admission no. 2 - ' ; ~ 1 _ ~ "

admit that with your conclusive confessions as rendered in Admissio`n no. 1 ;above',
'\ - ,l ~ ~ ."| o v _ c ' . " .
lied.'£’\.tiv.l”. 19(_a) et seq. requires you personally to se enjoined into this instant pro-'
ceeding as an indispensible party,~ one to be called intb account for your bad acts,as
more thoroughly detailed_in th"e Complaint B_v Affidavit ts filed with the Court h,erein._ _
{?.esponse: - ' ` ‘ .

zi.dmission no. 3 ` ~ ~ ` ` v .

Admit that'you, between October 13, 2009 and this current date, ».eithez“continuous-
ly or during some incremental part thereof llhile drawing remu).leration from the .'.le jure
federal government and its Fr_e-;leral liur'ee.u of Prisons (" BOP") , l'\ave engaged yourself overt»
ly. in certain activities which have served to facilitate, manage and/or perpetuate the
unregulated and unlawful existence and/or operation`d: of the G`MU-progrsm and facility
thé.t.". is situated within the confines-ix of the }?'edernl Co.'rections ]fns!:.i!".ution in 'l`erre
I~!nu!.'.`e . lndiana' ("FCI/'IHA"`) in violation of the Athninis 'rative Pr'ocer]».n"es Acl'. as codified
in 'l`itfl_e 5 of the United States C.‘ode. ‘ . ' t ‘ 4 -- '
Response: ~ ` ' `

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. ` ' .L l l 1
ease 2:15-cv-02279-JAD-GWF Documem 10-3 Flled 09/07/1613P>éoB-7!fe…

A\:lmission no. l¢-v . ~ k , ; _
Admit that you,~ having reviewed the initial Gomplaint 'By Affidav.'.t as filed in
tr is instant proceeding nom unequivor,'ably agree and confirm without further i'_.servation

or any kind v:/hat.soever, that A'LL of the allegations put forward by the.'__=c‘~}’laint'iffs thera~
in are ALL true, correct'_, certain and the facts of the matterand are thus not now or
forevermore subject to contravention pursuant the 'l"ed.R.Civ.P. 351".'.1`) or ot.hc‘-:'rwise, leav~
ing no genuine issue of material fact related thereto in dispute_or controversy/v
Response: ` ' ` '

h

Adnu'.ssion nc . 5

and (b) :

U.S..District Court/Sout‘o.ern llndiana,._(`,ase no.. 2212--¢:\)'~-03’4/4~lJM~WGlI, Document no. ~ ~
36, comner}cing on page no.» 8; _' . - ' ~ _ '

U.S° District (?.ourt/Southern .T.udi`ana,z ass no~..~Z:l&cv~QL'zB-J|\iS»-WGH, Documnnt n-' ..
16, commencing on page no. 6 of .18; ' ' ’ ' ~' , " 4 1

U.S. District.(".ourt,{$outher'n~' Ind'lana,~' Case no..'52213-»cv~@l.‘11»'JMS~l-IGH, I>ocxmlent no.
19., commencing on_ page no _'5_ of Z_O; . ~- '

L‘.S. Courtl.of federal Gleims,` ._Case.no;. lil.'i~,c\,*»OlQ-FI~IA', Docunent no.' 9, commencing
on page no. `S| of ,‘1.'}; ; =‘ ,, ’ " . ,:

U.S.. Court, of Fsde.ral ~Claims_,.`€ase'no.~. 1:`ll£'-~cv'-"'i_`69-‘_JW,_-Docmnent filed on 'July`

A.chnit that re ,arding the conclusive responses to the lfequests for A\imissions, l="e .
R.Ci\r.l>. '36(1>) or otherwise rendered by certain Defendnnt(a)/.cspondent(_s)' as filed ,'in_ .~
the courts as follows, you would have rendered the exact some responses,qif'so '1:'equest`ed,
in these separate but related .lego.l"p}.:oceeding,s il§,c.ompliance with Fed,R.Qit’»P, 36(_:‘-1`}(3)

~15_¢ 2013 '(no.' unluloxm)._:f.cc~mnencing. on page`."no. 6_ of 10;` anda _
~ U.S. Court of_Fecleral Claims., C_use nci .l:l3~cv'¢'83/4~_ld!3,' Document .n`o. *-J, commen~
cinz‘; 0).1 Pa§e 8-0f 10. ~ ' - ' ` ~ ‘ `
R.espo`nss:

Admissicr: no. 6 , ' _ `

A.dmi:t. that your responses to Admission no. 5 above renders those responses to
the Request.s for Admission, l?ed.l‘\.Civ.P....'SB\§b) referenced therein to be truthful, `com~
plete, certain, the facts of the matter and relevant to this instant proceeding as extras

judicial admissions in accordance with l?cd.R.E~rid. 1;01, SOl(d) and 901 or otherwise
Rcsponse; - . . - . . .

Admissicn no . ?

'A.c‘mit that in accordance with F":lRCiv'P 56 or cther\;vise and with respect for '
your conclusive admissions, confessions and stipulations ea set forth herein `l:~",', you via
‘.-`cd.l{.Civ.P.' 36(1)) or otherwise which`yon hereby weivéi'-'; AI_L current and future objec-
tions and challenges thereto_, there°`is le€t,no genuine issue of material fact in further
dispute or controversy and thus these plaintiffs are entitled to a smmlary judgment '
unnamed; indiv~

al§%inst.» you personally as well as each“‘ot'. the defendants, both named and`

iz.lt.iull.y:y' and severally for the entire amount of the relief sougl'st in the Complaint By
r’\fi?idavit filed herein plus any/additional damages which might be sought"by‘ these Plain~
tit`f.s 'in :..'ny subsequent amendment(s) which might be filed thereto with the _c'ourt. " '
Response`: ` 4 - - ' ' -,-.

A.dmission no . 8

'» Admit that having never being accused of nor sanctioned for an illicituso of the
FBDP's modes of outside communications available to Al.L non»CNU designated inmates in-
cluding; but not limited to telephone and mail usage and contact visits .pr'lor" to. arri'v~-
ing at the unlawful and unregulated CMU program and facility inside the erl/IIH.,; nc gen~
. 1'ui._ne_and___l_e_giti{ll§t§__pepplogicalm_in_t_e'rest or goal has been served by' your criminal acts

su.r,';;§)u'n_c_iing.;your personal participation in the pl …

scsxnent £inr.?foli§`continue<'_i'deténti_mj cf those

Page_.'§ of 7,~._
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' Reeponse: _

Admiosiun no . ll

,codi'fied ` at 5 USCS § 3331 or otherwise wherein you lave admittedly failed to "

. 1 "
Case 2:15-cV-02279-.]AD-GWF Document 10-3 Fl| dOQ/O?/l€E §aU § § 1 g _1_

 

4

United S_tates affirmed actually innocent Plaintiffs into this illegal and unregulated
CMU environment epecifically`designed to consciously deprive these Plaintiffs of their
lst, E'th and Bth .'smendmentconstitutionally protected 1!'ights, i.e.. false imprisonment
as manifested in indefinite aclmini.é.'trative detention creating a protected liberty inter~
est therehy., ' ' ~

Reepons'e :

[_\dmiasion r§o. 9 . ~ ‘

z Admit that your personal motive for your contin ed, perpetual and ongoing viola~
tions of the-constitutionally protected_. inherent;end.Ei'=)'il rights of these actually in~
n~:)cen't Plaintiffs including your participation in the ‘=lulse imprisonment thereof end
your other federal and state criminal code violations 35 delineated herein or other'.-:ise,
ALL of which are already the subject of the_F'BOP's official agency detenuinations, are

v

- driven by your fear and your resulting overt attempts to avoid the civil and criminal

sanctions that you as a RICG-ine'pi.red co-conspirator will most'certaiuly. face when your
individual end collective bad acts are exposed 'fo`r AUL. of tile world to see in an open
and honest foru. .: ` . ~ '

Admissic-n no. 10 - 4 '

Admit that with respect for the applicable stat lte('.'s") .at large ao';\.'idenced by
31 USCS § 3720(b) et seq.§ qui tam, these,l’lain'tiffs hév'e good cause and Statutery euth'-
ority to initiate_end prosecute a cause of action on behalf of your enpl_cye-'r, the de
_jure‘federa.l° gov.v§`»_m`j§=_nr,=,.’ in a court of appropriate ju"isdicti'c-n with you as .e named

defendant to recover the compensatory damages it has s ffered and accrued as a direct

result of your bad acts you have confessed to herein ulrich have served to impair the

enforcement of the obligations embodied in the express settlement agreea'nents between ',

the United States and these Plaintit'§:o, .i.e. tortious interference. resulting in your

employer’s default tl'gereo'n and the impugning of its full fait.l end credit as established

in Article l`V, Claus:e 'l'and Ar.'ticle `Vl, Clause 2 of tli Cnx'letitution of the United Statee."

Resp_cnse: 4 :_ ' y . ,___,__- 4 . l _ . -. »
l -.__.,.. .. .......

......._ ,...'.. _._`._.... ...

Admit, that with your positive affirmation herewith that t!‘xe"restric‘-‘.'ions and,' ..
exceptions enbodied in 31 USCS § 3729(b)(l)(B) or othelhvise not applying to you person~-
ally due to,your overt and concerted Violations.' of' your4 oath of office contract you
have undertaken via Article Vl_. Clause 3 of the Constit`uticn of'.tl}:e United Stetes as __ h
~ S=_\D"
z'J-',Jr'_<:j'~‘and.defend the Cons'titution of the United Staten. . .." and "...bear true faith andi
allegiance to the same. . ."_, the canoe or action cnmtemplated in Admiseion no~. i(\) above
shall be deemed to be a valid-f claim with you personally liable for the danages»sought
to be recovered on_ behalf of your'employer therein. ' "'
Reeponse: ` . ` ‘ "

Admi.s'eion no. 121 - o _ "'_"'"'“"` . o "j"__ ' 0
-Admit ' `-t:h-nt. as a dirr=\.ct result of your ongoing criminal activities and actions >.
as delineated in the Gomplaint by Af:"fid.'avit filed herein and with your conoluaive~~nf~

 

 

.firmation thereof as per Fed.R.Civ.P.'"'Bfi(h), you as well as ALL of your R.ICO' co~con"ep:¥.r~~ '

 

 

store both known nnd»ur\}.mown_ at this time cannot aseert any defense of official 'J'.mxilun~a
ity whatsoever nor enjoy representation by legal _counncl paid for or employed t\y"the

de jure federal government_. il.‘.`c`:luding, ita U.S. Departmelnt of Just.ice end.AU,`of its. sub'~
departments and agencies thereof, etc. such ns the Offioe of the__UnJ_te-_i $tat_ee Atto\:ney.
R_espona:e: -~ ' '- ~ ' " ~

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§ . . ‘

Admisoicn no. 13 : § . ' . ~ _ _
`~Admit thst_venue is proper in this Court to fully edjudioete this cause of ection,

and with your waiver of AEL future objections thereto, chcc Zoldek,'lccated et the OFfice

of°the General Counsei£ef the FBOP, 320 First Street NW, Weshington, DG 2053& is hereby

empowered by you to accept service of process io.aceordance with Fed.R.Giv.P.~S or othoc~

_wiee of ALL documents qssccieted herewith on,your bchalf. ’ 1 '

liesgxnrs~: ~ ‘ ‘ »‘ ' 'f - -

»`.

Admission No. 14' , _ _ . . f . " '
Admit that NO court anywhere, Federai or.otherwise, has ever issued a valid order '
of connitment,under the original signature and impressed_seal-ot the clerk ot that court,"
es required in'the.statute. at`iarge and evidenced by_18 USCS § 3621(c) end 28 USCS §1651;
. recognized in FHOP internal guideline_no. PS§800.1Z,_Section 203;and required upon the

FBOP, as jailer(s) to detain these three (3) Plaintiffs,;individually, for even one (l)
minute. '! ‘ 4_*' . . . '_.
' l

Response:

 

. v 1
*! l. .1..., 1 _ ,
.-! . ‘_\ ' ' .' -' ' . ~)'

In accerdance_wlth.Fed:R.CiV;P. Zo(g) and 28 USCS § 1745(2)_or otherwise, l~do
hereby certify under the pains and penalties of perjury,-that the foregoing is ALL bruce
correct, certain, compietegnotndsleading and the facts of the matters`es if it were
Sworn testimony evidence rendered from the witness stand and now presented herein for.
the purposes ofthe&eihetant proceedings in accordance with Fod.R.Civ.P. BG(b) or other"
wise. _ ‘ ' ' '~~ '. ~ ` .
.. -°‘ x ‘
Date: ,{jby; ..4 =' m

4 4 , h

..-\ .5.~» ~ur.-.~ - ~v- r:-.-r:.-.-le-.xr.=.~.~

lhéYo Uffice of tie General Counsel
,‘_Attn;onyce Zoldak
"uPederal Bureuu of Prisons “
. _;_320 First Street.NW
'- ;fWaShington,dUCfZOSSh

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' 1
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§ cr:l.z'rlp'lclue or-j_ soav];c)s' -

. . . ~ _ _ G
_ Under the pains end penalties of petjury, re 28 USCS_§ 1766(1), the Plaintiffs
herein do certify that:on theig€g“écy of December `2016, ttey did give the foregoing
to DBOP employee Ciint¢Swift for further deposit ihlo the outgoing CMU/FCl/THA .mail
system for furtmer delivery~to the U.S. Postal Service in accordance with`Fed.R.Civ.P.
S(h}(i) and (2)(c)a See also Houston_v. Lack. 487 US 266 (i®SS).!The foregoing wes en~
closed in two separate'envc$];o[:§c'§ §§Fof;é}:l"§"§i?l']resse.d es follows 'wi'th a';l¢.>.<`{`u-'z.i_:e postage
affixed: . l z . ' »
~ '! . ` U.S. Attoruey‘s.@ffiée '
'C/o Federal~Bureéu of Prisons d/G Civil PWUC€SH Clétk
Office of the'Generei Counsel 555 Afhistféeblui'
Attn: Joyce Zoldek . '; _ 'Washingtons DU 2304
320 First St. § . ' ` _ ~ '. . ;_ . »;
fw Uashington§.DC,RQ$$h.. `. .' . ~' » -
' ;.U§;['S l'i’). ' ‘ \.:

  

~ j by; Q'{%%j :w' n by; fig §§;:;~/~“3-~ _ 'by:': L/c¢z;/"/

 

 

 

wwrz,l.J:AM .osoAu'.H/\RRIS _ _ ~ . ROBER DAVLI) NE'AL _RAL’Pl~x imm
mainciff - ~~¢Plainniff.. . .» 4. ~. -~ P..la.in.tiff 1 . . ~
Po Bo); 3.3, au7¢»3050: ~ ' . ~ ‘-PO BOX 33, 1515118,0 Po Box 33, 31623048
= male HAurE, _J.N amos ' 'J`ERRE HAUI'E, IN 47808 ~TERRE HAUTE,_- IN 1»'7808
z ' ~Page 7 of_7 5 '

Page 9 of 15

 

 

 

case 2:15-cv-02279-JAD-evvl= Documem 10-3 l=iled 09/07/16 eagenonfaél T iz
uNITEI) sTATEs DISTRICT couRT 4 *
FoR THE DISTRICT or coLuMBIA~ ' .
RALPH TAYmRr ET AL-, ) Case No. 1.:1A-cv-01875-JDB l '.;
. . )
Plal“'“ffs’ ) 3110 NorlcE or AccEPTANcE or REsPoNsEs
V ) 'no RE)QUEST non ADMIS_SIoNs, F.R.civ.P.
° g 36 (a)(3) a (b), BY AFFIDAVIT 1
otiRLESE. sAm)ELs,JR.,ErAL., )
Defendants. )
.) ,`
sTATE 0F lNoIANA =
- » : Affirmed and signed.
vleo couNrY g

coats Now, for._.che Plain`ciffs,one of the Plaintiffs,~ wn;LIAM oscAR HARRIS '("HARRIS")
herein,». being of majority age, good moral character and competent "to testify, with yes

as yes and no as no, and in filing this 3rd Notice _would show this Honorable Court the
following, to wit:

RECITALS

1.. On February 25, 201.5, these Plaintiffs duly accepted the tacit responses to the
Request for Admissions ("Request"), which had been previously submitted to secondarily

joined 22 named co-Defendants, on January 8, 2015, and each properly served, in accord-
ance with F.R.CIV.P. 36 (a)(3), to: `

K.S. Ho`oper S. walters _, Lt. Winterberg

N. LaDune C. DeSmith ' R. Herbert

C. Williams B. Kelsheimer S. Butler

D. Cooksey ' F. Semain D. Strong

S. Morin D. Scott Dodrill B. lslom

C. Hol]. (`harles Daniels S. Polmd

V. Sears Richard W. Schott G. Stine

J. Spears

2. The process service/sand confirmation was accomplished via accountable mail means,

thru the U.S. Postal Service, re Tracking No. 91.11» 9999 4423 8468 8813 680

3. With this formal acceptance, the matters addressed in these documents are now deemed
by F.R.CIV.P. 36 (b) to be conclusively established, with binding legal effect, and not
subject to further contravention for the purposes of these proceedings.

4. ]`.n the interest of judicial economy, a generic true copy of these Request(s), which
were identical~and individualized for each of these 22 identified and named co-Defendants'
own name affixed thereto for proper identification, is attached hereto as Exhibit A at

 

 

Pag€S 3 thru 6 herein. ~~§\¥RT;§“?M
Page 1 of 6 MZSZU|S
Page 10 of 15

 

 

 

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U S`All§€sctr‘\"c! L\\hn` Dislrlcl 01 (_o»|n@»\,_lf. l

Case 2:15-cV-02279-.]AD-GWF Document 10-3 Filed 09/07/16 §a§;eHlJIofBlFlt T 2

 

`5. ' Further, in accordance with the time constraints imposed by F.R.CIV.P. 36 (a)(3),
coupled with these tacit non-responses of these 22 identified and named co-Defendants,
being herewith deemed to be contractual stipulations and final/firm admissions as hoesch
and'every matter put forward in these Request(s), they are hereby NOTICED that the.I)day
response period, as adjusted for 3 additional days, has expired.

6. Furthermore, these Plaintiffs now hereby serve NOTICE that they are accepting these

non-responses from those 22 co-Defendants for the purposes of these proceedings, which are
not Subject~to further contravention, forevermore. `

AFFIRMATION AND VERIFICATION

Under the pains and penalties of perjury, re 28 USCS § 1746 (1), HARRIS, for the Plain-
tiffs, affirms and verifies the foregoing is all true, correct, certain, complete and not

misleading as done, signed and presented, absent access or availability to a notary public,
on this 25th day of February, Common Era 2015.

For the Plaintiffs:

 

by:

 

wILLIAM oscAR HARRIS
Plaintiff

Po Box 33, 40743050
TERRE HAuTE, IN 47808

PROOF OF SERVICE

On this 25th day of February, Common Era 2015, HARRIS affirms that a copy of the foregoing
was Submitted to mail, exact postage, addressed to: '

Charles Es samuels, Jr., et al. . U.S. Attorney General and

Defendant$ § b U.S. Attorney for the District of Columbia
c/o doyce Zoldak, Assoc. General Counsel Civil Process Clerk '

Federal Bureau of prisons (BOP) 555 4th Street, NW

320 First Street, NW Washington, DC 20011

Washington,§DC 20534

§ For the Plaintiffs:

wILLIAM oscAR HARRIS
Plaintiff

Po Box 33, 40743050
lines HAUTE, IN 47808

 

Page 2 of 6
Page 11 of 15

 

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Case 2:15-cV-02279-.]AD-GWF Document 10-3 Fl|ed 09/07/1% ME T 2
UNl'I.'ED SI‘ATES DISTRI 'l‘ COURT
FOR 'lHE DISTRICT OF COLUMBIA

 

lutsz TAY' R, et ai., ) 1
Piainciffg, 2 case no. 1=14~¢v-01875-JDB
' ""' § money mr Aonlssions_. Fed.r.oiv.r. 36
times E. same JR., er 51.
Defendants. §

 

ama . ., . ` z
c/o Federal Bureau of Prisons and the U.S. Department of Justice j

y
11
"¢

Tfiese.-I’laiotiffs hereby request that you admit, wider oath,, to Al.'t of the iiollow~
inv matters for the purposes of thi§€?`: instant proceeding as required by Fed.R..Civ.P. 36
(a_ (3.)~ and (b) within thirty (_30) deys“of this Reque§tl See alsc»___Houst-:»n v. lac_;l_f~., 487
US 266 (1988) and Fed.R.Civ.P. 5(b){'i)&(2)(€), Tnis Request is -`oein<,>; made pursuant to

l'"ed.R.Civ.P. 3, 26(a)(l){B)(iv), (d)(l), (f)(l) and 36 which establish t `e exempt status
'.<:-f this proceeding .~. ~` ‘ .

 

You responses `ereto, if any, shall and will be sighed‘liy you personally as so
required by- Fed.R.Civ.P. 26(g) . Yo`ur responses shall and will be used in this proceeding
and/or any other legal proceeding, both judicial and extrajudicial, as`r these Plaintiffsz
deem necessary and appropriate in their sole discretion. If you_ choose to add to, supp'
lement or deny"these affirmative admissione, you mu§t do so ".-Jit'!iin th"e thirty (30} days
us alloted in Fed.R.Civ.P. ~'i€>(a)(?»_`).4 Otherwise, each and every matter as set forth herein
shall;automatically be deemed to be admitted "ani"stipulated to by you and firmly estab~
lislied against you. Be so advised. Ycu should attach additional pages hereto if more space
is required for your responses. - ~

admission no. l ~. ' l

Ad'mi:':. that the top initially named defendants herein_. Charles E. Samuelsz, J . and
Sarah Qureshi, h"ave;», each individually pursuant to their jtv.i.icial admissions brought for-
ward via Fed.R.C.iv.?. 36(b`), identified you specifically-by name as a culpablebad actor
and knowing civ-conspirator with t `em in their confirmed c 'ilminal RICO scheme (18 113 33 §
1961 et seq.§ otherwise lmc)vm as the E‘ormmicaticns Management Unit ('."CNU") program
and facility that is the subject of this instant proceeding.
Response:

Admission nc. 2

Admit that with your conclusive confessions as rendered in Admission no. l ~aL\')ve,
lied.`R.Civ.P. 19(_a) et seq. requires you personally to ‘ enjoined into this instant pro-
ceeding as an indispensible party, one to be ca.lled.into account for your bad acts as

more thoroughly detailed in tile Oomplaint B_v Affidavit as filed with the Gourt herein.
il.esponse:

Admission nc. 3
Admit that you, between Octo`oer 13, 2009 and this current date, either continuous-

ly or during some incremental part thereof while drawing renunerat:ion from the de jure
federal goverwnent end its_Fe'_;leral Bureau of Prisons ("FBOP") , have engaged yourself overt-
].y in certain activities which have served to facilitate, manage and/or perpetuate the
\.1nregulated and unlawful existence and/or operations= of the 'GMU program and facility
!:hat"..is situated within the confine'sk‘of the Federal (brrections Institntion in 'l‘erre
!~laute ~, lndiana ("FCI/‘I'HA") in violation of the A.dministrative Frocedures Act as codified
in Title 5 of the United States Code.

Response:

Page 3 of 6
Page 12 of 15

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" Case 2:15-cV-02279-.]AD-GWF Document 10-3 Filed 09/07/1@ |HQ§ §§f£§_ll T 5 2

' admission no. ln-

Admit that you, having reviewed the initial Gomplaint :~.By Affidavit as filed in
this instant proceeding now Lmequivocably agree and confirm without further reservation
of any kind whatsoever, that ALL of the allegations put forward by these`}’laintiffs there~
i'n arc ALl. true , correct, certain and the facts of the matter and are thus not now or
forevermore subject to contravention pursuant the l'”ed.l{.Civ.P'. 36(b) or otherwise, leav~

ing no genuine issue of material fact related thereto in dispute or controversy.
Response:

Admission nc. 5

Admit that regarding the conclusive responses to the lle_q"u:'-s:ts for Admissions, Fed
1?..Civ.P.'36(])) or otherwise rendered by certain Defemdolzt(a)/Responde11t(3) as filed in_
the courts as follows, you would have rendered the exact same rosponses, if so 'requeste.d,

in tl_(le§e separate but related legal proceedin s in compliance with ch,R.Cix-'.P. 35(§}(3)
and b : .

U.S. District Court/Southern Indiana, Case no. 2:12~0v~~0344-LIM-WGH, Doc\_ment no.
36, come cing on page no. 8;
U.S. Dis trict ('Zourt/Southern lliiia.na, Case no. 2:l3rcv~043~JMS-WGH, Document no..
16, comnencing on page no. 6 of 18; ~
U.S. Distr:l.ct'('.ourt/Southern Indiana, Casc no. 2:l3scv~3li1-JMS~WGH, Docmlent no.
19. commencing on page no '5 of 20;
U.S. Courtl.ot' Fe.deral (:‘.laims, .Case no. l:lB-cv-Ol9-M, Docunent no. 9, commencing
on page no. 9 of 13;
U.S. Court of Federal (]laims_1 Case no. 1213~c\'-\’569~‘JJN, Docunent filed on July
15, 2013 ('no. lmlmown)',' comnencing on page no. 6 of 10; and
U.S. Court of Federal Claims, Case no. 1:13~cv~834-1JB, Docunent no. 9_. commen-
cing on page 8 of 10.
Response:

ladmission no . 6

Admi't that your responses to Admission no. 5 above renders those responses to
the Requests for Ad_mission, Fed.R.Civ.PI‘ 36(b)'referenced therein to be truthful, com-
plete, certain, the facts of the matter and relevant to this instant proceeding as e:~:tra~

judicial admissions in accordance with l"ed.R.Evid. !s(`)l, BOl(d) and 901 or otheivise.
Response:

Adndssion ;no. 7
Admit that in accordance with Fed.R.Civ.l’. 56 or otherwise and with respect for

your conclusive admissions, confessions and stipulations as set forth herein b' you via
B`ed.'R.Cile. 36(b) or otherwise which you hereby waivéi:,~'; ALL current and future objec“~
tiona and§challenges thereto, there is left no genuine issue of material fact in further
dispute or controversy and thus these Plaintiffs are entitled to a emery judgment
against y )u personally as well as each of the defendants, both named and unnamed, indiv~
idual.l_y;'j %md severally for the entire amount of the relief sought in the Complaint By
!Lffidavit, filed herein plus any additional damages \d)ich might be sought by these Plain-
tiffa in tony subsequent amendment(s)~ which might be filed thereto with the court.

Responae:
A.dmis_sion no. 8

_ Admit that having never being accused of nor sanctioned for an illicit usc of the
' FBOP's males of outside canmmications available to non»CMU designated imna'tes in-

cluding, ,_Lzut not limited to telephone and mail usage and contact visits .prior’ to arriv-

ing at t 7 unlawful and unregulated (`MU program and facility inside the FCI/’Ill!., no gen~
nine and ._,,ehgij;_'i;q_la__t'_e penological interest or goal has been served by your criminal acts

' . surr_";i)itndingwour persénal participation in th

, a placement andfozf continued detention_=."¢._:f these
\ w \` z
' Page 4 of 6

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-_',;..

 

Case 2:15-cV-02279-.]AD-GWF Document 10-3 Filed OQ/O?/l§gm&;ll;]ggo_§li§ T 2

United States affirmed actually innocent Plaintiffs into this illegal and unregulated
(NU errviroznnent specifically designed to consciously deprive these Plaintiffs fof their
lst, Sth and Bth Amendment constitutionally protected rights, i.e. false imprisonment
as manifested in indefinite administrative detention creating a protected liberty inter-
est thereby.
Responee:

\

Admission no. 9 -
Admit that your personal motive for your continued, perpetual and ongoing ' lola-

tions of the constitutionally protected, inherent and ci:vi'l rights of these actually in-
nocent Plaintiffs including your participation in the false imprisonment theer and
your other federal and state criminal code violations as delineated herein orlotherwise,
AlL of winch are already the subject of tEse,FBOP's official agency determine't ons, are

- driven by your_fear and your resulting overt attempts to avoid the civil and criminal
sanctions that you as a RIC`D~inspired~co-conspirator will most certainly fece§vdien your
individual and collective bad acts are exposed for Al.L of the world to see in‘an open
and honest forum.

'. Response:

 

Admission no. 10 \ ~ _ ' ‘

A`dmit that with respect for the applicable statu'te(s) at large as evidenced by
31 USCS § 3750(b) et seq. , qui tam, these Plaintiffs_have good cause and statutory auth-
orit ' to initiate and prosecute a cause of action on behalf of your employer,~ the de
jure federal gove'rfrnent*,\‘ in a court of appropriate jurisdiction with you as a named
defendant to recover the compensatory dmeges-it has suffered and accrued»»as a direct
result of your bad acts you have confessed to herein which.have served to impair the
enforc¢anent of the obligations embodied in the express settlement agreements between
the United States and these Plaintiffs, i.e.. tortious interference, resulting in your
imployer's default thereon and the impugning of its full faith and credit as established
in Article IV, Clause l and Article `Vl, Clause 2 of the c;onstitution of the United States.
`..’\esponse: ; ‘

._. .»~_.._,

l '__v ___ _ ,. . .-,....-_.._._...._'._ ,__..._._._..._._..........~..._.,.....`__....._..._ ,

Admiss.ion no. 11

Admit that with your positive affirmation herewith that the restrictions and/ _
exceptions embodied in 31 USCS § 3729(b) ('1) (B) or otherwise not applying to you person--
ally due _to y'~ur overt and concerted violations of your oath of office contract you
have undertaken via Article VI_, Clause 3 of the Constitution. of the United States as
codified ` .at 5 USCS § 3331 or otherwise wherein you have admittedly failed to ". . . g:_n;,-
:P*,ii'_€.".`? and defend the Cons'titution of the United States. . ." and ".. . bear true faith and
allegiance to the ssme. . ."_, the cause of action comtemplated in Admission no. 1® above
shall be deemed to be a valid~.i claim with you personally liable for the dosages sought
to be recovered on behalf of your employer therein.
Response: `

 

Admission x\o. 12 \4 4 "

Admit that as a direct result of your ongoing criminal activities and actions
as delineated in the &)mplaint by Affidavit filed herein and with your conclusive nt~
firmation thereof as per Fed.R.Civ.P. '36(b), you.as well as AU_. of your R.ICO co-consp:l,r-
ators both known and \.mlmown at this time cannot assert any defense of official immun--
ity whatsoever nor enjoy representation try legal counsel paid for or employed by the
de jure federal government, including its U.S. Department of Justice and All_. of~ its snb~
departments and agencies thereof, etc. such as the O'E'Eice' of the'United States Attorney.
Responsa: ' '

- ._._...., _F_~~-

Page 5 of 6
Pag§ 14 of 15

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ease 2:15-cv-022F79-JAD-GWF Documem 10-3 Flled 09/07/1@§_§'§§§;55;@§£_“_

c".dlrd.ssion no. 13 § ` .

f-.dmit that vec.me is proper in this Court to fully adjwiicate this cause of action,
and with your waiver ofg Al`.].' futx.u:e objections there'!-;o, Joyce Zolda'k, located at the Office
of the General Counsel §ef the F'BOP, 320 First Street NW, Washington, DC 2~\)53¢; is hereby
mpo'.~.'ere'.i by you to accept service of process in accordance with Fed.R.Ci‘v.P. 5 or other~
wise of ALL documents associated herewith on your 'behalf. '
llespon:=,e: § _ ' »
Adnd.ssion No. 14 _ . .

Admit that NO court anywhere, Federal or .otherwise_. has ever issued a valid order
of comni.,tment'.under the original signature and impressed seal~ot the clerk ot that court,
as required in' the statutes at large and evidenced by 18 USCS § 3621(0) and 28 USCS 9 1651, -
._ recognized in FBOP internal guideline no. PS.5.800.12, Section 203,and required upon the

FBOP-, as jailer(s) to detain these three (3) Plaintiffs, individually, for even on_e (1,)

minute. l

Response: i

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.xx. ,,.
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'].`n accordance\vlth.'["ed;R.Civ.l’. 26(g) and 28 USCS.§ 1745('2) or otherwise, l do
hereby certify under the pains and penalties of perjury,- that the'foregoing is ALL true,
correct, certain , cunplete.,tno}: misleading and the facts of. the matters `as if it were
Sworn testimony evidence rendered from the witness stand and now presented herein for
the purposes of tlie;se¢i:nstant proceedings in accordance with Fed.R.Civ.P. 36(b) or other-

' Se-

b_.. ;
Date: _ !" ' =by:

.' _,.n
§

 

 

@/0 L')fi§ice of' the General C_ounsel
_ Attn: Joyce Zolda':.c
i E'ederal Bureau of Prisons
j 320 First Street.NW
§ ' Washi`ngton, DC 20531';
g CERTIFI.C;ATE OF SERVICE ~

Under the pains and penalties of perjury, re 23__USCS § 17£;6(1), the Plaintiffs
herein do certify that* on the_ Sth day `of Januan 2015` . they did give the foregoing
to li'BOP employee Clint- Swi£t for further deposit into `the outgoing .G\TU/'\“CI/'IHA mail
system 'foj: further delivery to the'U.S.r Postal Service in accordance with Fed.R.Civ.P.
5(b)(1) and (2)(<>). Se`e also Houston v. Lacl.<. l+87 US 266 (1988). 'Ihe foregoing was en~.
closed inj two separate.'env<slop"é"§"p}:operly ha'.?.l`d'r.essed as follows with adequate postage

affixed.: 4 § , _ -
, j ...US. A'tto;mey's Otfid.e
C/o§ Federal Bur:eau of Prisons ~ C-`/O Ci.Vil Pr<JCeS'S Cl@rk.
Off:i_ce of the `General \'Jounsel 555 thh Stl'@€¥l NW `
Atlij Joyce Zoldak , , Wsshington, .D';! 200ng .
v320? First~ st_.~ ' l ~ _ , ;.5 . .
._ ;was,b~ingcm»,,.,nc.; 20534 '

` _';nscgs .110.911¢"~999`9 haas shea sms ss
. 41 _ ,

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_....[.. ... .. ....' ~ . _ . ~. : '\%

 

by:

 

 

.../»...

.- " . bye ' b_y. ~ .
'wm. .oscAR HARRIS . ROBER Avn) NEAL RALPH TAYIhR~
Plaint -ff "'-.__I_’laintiff_ _____ ‘ __ ~_ " Plain.tiff
Po Box¢;ss, 407¢»3050, - ‘zPO BOX‘33,' _1515118,0 . .Po Box 33, 31628048
TERRE iIAUI'E, _IN l»/SQB_ TERRE HAUI‘E, IN 47808~ _ v .TERRE HAU];E, IN 47803
` z § . .Page 6, .of-~6 T'
4 l Page 15 of_ 15 . .
1 .

